                  Case 23-11069-CTG              Doc 215       Filed 08/11/23         Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )    (Joint Administered)
                                                                     )
                                                                     )

             AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON
               AUGUST 15, 2023 AT 1:00 P.M. (PREVAILING EASTERN TIME)

                      THIS HEARING WILL BE CONDUCTED IN-PERSON.

       All parties, including witnesses, are expected to attend in person unless permitted to
                                          appear via Zoom.

        Participation at the in-person court proceeding using Zoom is allowed only in the
    following circumstances: (i) a party who files a responsive pleading intends to make only
      a limited argument; (ii) a party who has not submitted a pleading but is interested in
     observing the hearing; or (iii) other extenuating circumstances as determined by Judge
                                             Goldblatt.

                          All participants over Zoom must register in advance.
                         Please register by August 14, 2023, at 4:00 p.m. (EST).

                                                Registration Link:

                       https://debuscourts.zoomgov.com/meeting/register/vJItc-
                                qvrD0qHR1QGHq1p7DvtjiAUXc95AA

                               THIS HEARING WILL TAKE PLACE IN
                              COURTROOM NO. 2 ON THE 6TH FLOOR




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
      Overland Park, Kansas 66211.

2
      The agenda has been amended to reflect that the hearing will take place at 824 North Market Street, 6 th
      Floor, Courtroom No. 2, Wilmington, Delaware 19801.


DOCS_DE:244192.2 96859/001
                Case 23-11069-CTG        Doc 215     Filed 08/11/23     Page 2 of 3




MATTER GOING FORWARD:

1.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and
        Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay, (IV)
        Authorizing the Debtors to Use UST Cash Collateral, (V) Granting Adequate Protection,
        (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Filed 8/7/2023,
        Docket No. 16]

        Response Deadline: Responses can be made before or at the hearing.

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       Declaration of Brian Whittman, Managing Director of Alvarez & Marsal North
                 America, LLC, In Support of the Debtors’ Motion for Entry of Interim and Final
                 Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B)
                 Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative
                 Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors
                 to Use UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a
                 Final Hearing, and (VII) Granting Related Relief [Filed 8/7/2023, Docket No. 17]

        B.       Declaration of Cody Leung Kaldenberg, Founding Member and Partner at Ducera
                 Partners, In Support of the Debtors’ Motion for Entry of Interim and Final Orders
                 (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Utilize
                 Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense
                 Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use
                 UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final
                 Hearing, and (VII) Granting Related Relief [Filed 8/7/2023, Docket No. 18]

        C.       [Signed] Interim Order (I) Authorizing the Debtors to (A) Use Cash Collateral, and
                 (B) Grant Liens and Superpriority Administrative Expense Claims, (II) Granting
                 Adequate Protection to Certain Prepetition Secured Parties, (III) Modifying the
                 Automatic Stay, and (IV) Granting Related Relief [Filed 8/10/2023, Docket No.
                 181]

        Status: This matter is currently scheduled to go forward as an in-person hearing. To the
        extent the Debtors negotiate a consensual interim DIP financing order, the Debtors will
        submit such order under certification of counsel in advance of the hearing for the Court’s
        consideration. If the order is approved by the Court, the hearing may be cancelled.




                                                 2
DOCS_DE:244192.2 96859/001
                Case 23-11069-CTG   Doc 215   Filed 08/11/23    Page 3 of 3



Dated: August 11, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)      Patrick J. Nash Jr., P.C. (pro hac vice pending)
Timothy P. Cairns (DE Bar No. 4228)      David Seligman, P.C. (pro hac vice pending)
Peter J. Keane (DE Bar No. 5503)         Whitney Fogelberg (pro hac vice pending)
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                                         Proposed Co-Counsel for the Debtors and Debtors in
                                         Possession




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DOCS_DE:244192.2 96859/001
